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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:06CR116
                                            )
                     Plaintiff,             )
                                            )              MEMORANDUM
       vs.                                  )               AND ORDER
                                            )
CHARMAR BROWN,                              )
                                            )
                     Defendant.             )

       This matter is before the Court on the Defendant’s Notice of Appeal and Request

for Certificate of Appealability (Filing No. 971) and the Clerk's memorandum regarding in

forma pauperis status (Filing No. 972). The Defendant appeals from the Memorandum and

Order (Filing No. 964) denying the Defendant's Second-in-Time Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (“§ 2255

motion").

       Before the Defendant may appeal the denial of his § 2255 motion, a “Certificate of

Appealability” must issue. Pursuant to the Antiterrorism and Effective Death Penalty Act

of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal the denial of

a § 2255 motion is governed by the certificate of appealability requirements of 28 U.S.C.

§ 2253©. 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability may issue only

if the applicant has made a substantial showing of the denial of a constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

              (B) the final order in a proceeding under section 2255.

       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.
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       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253©.

       A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the issues presented

were ‘”adequate to deserve encouragement to proceed further.”’“ Slack v. McDaniel, 529

U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)).

       The issues raised in the Defendant’s prior § 2255 motions were carefully considered

and those were denied. The Defendant did not obtain an order from the Eighth Circuit

Court of Appeals pursuant to Rule 9 of the Rules Governing Section 2255 Proceedings to

file a successive § 2255 motion and the Court denied the Defendant’s § 2255 motion

(Filing No. 956) for that reason. The Court concludes that the Defendant has not made a

substantial showing of the denial of a constitutional right as required by 28 U.S.C. §

2253(c).

       IT IS ORDERED:

       1.     The Defendant's request for a certificate of appealability is denied;

       2.     The Defendant is not allowed to proceed in forma pauperis; and

       3.     The Clerk is directed to mail a copy of this Order to the Defendant at his last

              known address.

       DATED this 28th day of September, 2016.

                                          BY THE COURT


                                          s/Laurie Smith Camp
                                          Chief United States District Judge


                                             2
